CaSe 1-17-46331-cec Doc 34 Filed 03/06/18 Entered 03/06/18 12:41:14
BEGJU [Fona 2030] [12!15]

United Statea Bankt'uptcy Court

East_l)islticl(}l' tm York
lo re
69? Evergre:eo laverne Ino. flag Ngl_l?_4533l-GEC
Debtor Chapm[ j

DISCLGSURE UF COMPENSAT]ON UF ATI`DRNEY F{]'R l.lEBTUR

1. Puntu;mt to l'.l U .S.C. § 329[:1] and ch. Banitr. P. ZUlo[b}, l oertit'g,.l that l am thc attorne},-l for the above
named ticbtor[s} and that compensation paid to me 1a.'ithin one '_l,rear before thc ruling of lhc peliiiott in
hanltru[ttt:‘},r1 or agreed to he paid lo mc, l'or services rendered or to be tendered on behalf of Ll'lE dEbLtJI|[S-] ill
contemplation of or in connection with the bankruptcy ease ia as follow.\.':

l"ot legal services. l have agreed to accept .............................. $ 350 - nn PE’-T-' how

Priortnthei"i]jngnfthi.\;atatemcmlhavcrccci~.-ed. 'l n

Ba|aoce Dtle ...................................................... $ to be detenmned

2. The source of lite compensation paid to me wae:
m [Jcbtor i:i i'.`lther fepecil'j,"}
3_ The source ofoomponsation to l:lc paid lo mc is:

center othertspeeit;,a DETJLOI"'S PriI'lCiPal

4. I have 1101 agreed to share the alamo-disclosed ootl:tpcnaatjon wilh any other portion unless Lilt:}r arc
members and aaaoct'atc.=t of mg law 1'11'111.

[i l have agreed to share thc above-disclosed compensation with a other person or persona who arc not
members m amnciat.ca n[ my iatar firm_ Pt copy oi' thc agrccmct'll, logt*.lhet Will'l 3 iiFiL of file nEiIllCS Ul.' ihE
people sharing J'n the com|'>erls.atic.»n1 ia attachod_

5. In return |.`ot tltc above-disclosed fee I have agneed to render legal service l`or all aspects of the hanltn~u]_'acg,r
case, including

a. Anaiyeie oi` lite dc|alor' s financial situatioa, and renr:leringl advice to thc debtor in determining whetth lo
Elc a petition in bankruptcy

h_ Preparation and filingl of any petition, schedulesT slatcmcnla of ai`fair$ and piatt W|'lich may hE Ti:/quirt:d;

c. Rc[:lrcscntalion of lhc debtor at the meeting of creditors and confirmation heatingl and ang..r adjonmcd
beatings Lhcrcof;

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EIL`IEU [Fortn E'l'l_':`.il] [12."[5]1
ii Rnprcnel'llnlinn of the debtor in adversary proceedings antl olth contcsu.'tl bankruptcy mailer:»';

e. [Ot]ter provisions as necdcd]

F.-. By agreement With the dchlot'[s}, inc above-disclosed fee does not include the following eervioes:

Doee not include eopeele.

 

CEI.`{T] FlCPt'i'|GN
[ nerLif]r' lJ'lnl l|'le foregoing is a complete statement of any agreement or arrangement for payment to
me for reprenenlnlion ol' lite tbebtor{sl in this bankruptcy t:tro»::ccdirtgll

3!5;"2015 ;ej trivia L. Joeaph

flota Signe-rrrre ofAr.rc-Htejt‘
l.l'iviet L. J:JSE.pi‘t law Grc)op P-C.

t"l."nme' of in w firm

 

 

 

 

 

 

